UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

JOHN DOE, by his Mother and
Next Friend JANE DOE

Plaintiff,

CAROL CAVANAUGH, in her Official
Capacity, EVAN BISHOP, in his
Official Capacity, and
HOPKINTON PUBLIC SCHOOLS

Defendants,

 

 

BEN BLOGGS, by his Mother and
Next Friend, JANE BLOGGS

Plaintiff,
Vv.
CAROL CAVANAUGH, in her Official
Capacity, EVAN BISHOP, in his
Official Capacity, and
HOPKINTON PUBLIC SCHOOLS

Defendants.

 

YOUNG, D.J.

ORDER

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CIVIL ACTION
No. 19-cv-11384-WGY

CIVIL ACTION
No. 19-cv-11987-WGY

February 5, 2020

Ben Bloggs (“Bloggs”) a high school student who alleges

that school administrators and the school violated his rights to
free speech under state and federal law, has brought the lawsuit
Bloggs v. Cavanaugh, 19-cv-11987 (“Bloggs Civil Case”), through
his mother and next friend Jane Bloggs. He brings claims
pursuant to sections 1983 and 1988 of title 42 of the United
States Code, and the First Amendment to the United States
Constitution, as well as Massachusetts General Laws, chapter 71,
section 82; chapter 231A section 1; and chapter 12 section 11.
He also seeks a declaration that Hopkinton Public School’s
(“Hopkinton” or the “School”) anti-bullying policy and the
enacting Massachusetts statute are unconstitutionally vague and
overbroad. See generally Bloggs Civil Case, Compl. Declaratory
Injunctive Relief (“Compl.”), ECF No. 1.

The suit arises out of an incident of alleged bullying on
the part of Bloggs and seven other students on the Hopkinton
varsity hockey team (the “Team”). A parent of “Robert Roe”, a
student on the Team, filed a report with the School alleging
that a member of the Team had taken videos of Roe without his
permission and was sharing that video with other students as
part of a larger pattern of harassment. Compl. @ 15. The
report named four other students as witnesses or participants,
though Bloggs was not among them. Id. While investigating the
incident, school administrators discovered a private Snapchat
group chat entitled “Geoff Da Man” consisting of eight members

of the Team, one of whom was Bloggs. Roe himself was not a

[2]
member of the Snapchat group. Id. {@ 21. While much of the
communication on the Snapchat group was innocent, it also
included derogatory commentary about Roe, along with pictures
and videos of him. Id. @9@ 24, 25. Bloggs himself posted the
following in the chat: “Are [{Roe’s] parents ugly too or did he
just get bad genes.” Bloggs Civil Case, Defs.’ Mem. Law Supp.
Mot. Dismiss, (“Defs.’ Mem.”) 5, Ex. 2, Snapchat Screenshots 4,
ECF No. 14-2.

Based on the investigation, the School Principal, Evan
Bishop (“Bishop”), suspended Bloggs from school for five days
and from the Team for the remainder of the season. Compl., Ex.
F, Notice of Short-Term Suspension Finding 2-3, ECF No. 1-7.
The decision to suspend Bloggs was based on his participation in
the Snapchat group, reports of additional videos and photos that
were not retained on Snapchat, and reports of active exclusion
aimed at Roe. Id. Additionally, Bishop found that “[t]he
conduct caused emotional harm to the target, created a hostile
environment for him during school-sponsored events and
activities and infringed on his rights at school.” Id. at 2.

Bloggs brings five counts against the School in the
complaint. Count I requests declaratory and injunctive relief
pursuant to section 1983, alleging that Hopkinton violated
Bloggs’ right to Freedom of Speech. Compl. 47 61-65. Count II

also requests declaratory and injunctive relief pursuant to

[3]
section 1983, alleging violation of Bloggs’ right to Freedom of
Association. Id. G7] 66-71. Count III requests declaratory
judgment pursuant to section 1983 because the Massachusetts’
anti-bullying statute, Massachusetts General Law chapters 71,
sections 37H and 370, and Hopkinton’s Bullying Policy violate
the First Amendment due to being vague and overbroad. Id.
72-79. Count IV alleges that the School’s actions violate
Article 16 of the Massachusetts Declaration of Human Rights and
requests relief under the Massachusetts Civil Rights Act,
Massachusetts General Law chapter 12, section 11I. Id. 1 80-
83. Finally, Count V alleges violation of Massachusetts’ free
speech statute, Massachusetts General Law chapter 71, section
82.

Hopkinton has moved to dismiss Bloggs’ complaint for
failure to state a claim upon which relief may be granted. See
Bloggs Civil Case, Defs.’ Carol Cavanaugh, Evan Bishop,
Hopkinton Public School’s Mot. Dismiss Pls.’ Compl., ECF No. 13.
The parties have fully briefed the motion. See Defs.’ Mem.;
Bloggs Civil Case, Pl.’s Opp’n Defs.’ Mot. Dismiss, (“Pl.’s
Opp’n”), ECF no. 18. The Court heard arguments on January 13,
2020 and dismissed all counts against School Superintendent
Carol Cavanaugh (“Cavanaugh”) and School Principal Evan Bishop

in their individual and official capacity, taking all others

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under advisement. Bloggs Civil Case, Electronic Clerk’s Notes
Mot. Hr’g 1/13/2020, ECF No. 25.

This case is the second before the court stemming from the
same incident of alleged bullying. The other case, brought by
“Doe,” another member of the Team, is Doe v. Cavanaugh, 19-cv-
11384-WGY (“Doe Civil Case”). Bishop, Hopkinton and Cavanaugh
filed a motion to dismiss, Doe Civil Case, Defs.’ Mot. Dismiss
First Am. Compl. Failure State Claim Relief Granted, ECF No. 22,
and in the motion session of October 17, 2019, this Court denied
their motion to dismiss as to Counts I, II, and IV (which
correspond to Counts I, II, and V of Bloggs’ Complaint), and
took Count III (which is identical to Count III of Bloggs’
Complaint) under advisement. Doe Civil Case, Electronic Clerk’s
Notes Mot. Hr’g 10/17/2019, ECF No. 31. Bishop, Hopkinton and
Cavanaugh, on December 17, 2019 moved to consolidate the two
cases, see Doe Civil Case, Defs.’ Mot. Consolidation, ECF No.
43, and this Court granted the motion insofar as any of Bloggs’
counts survive the motion to dismiss. Doe Civil Case, Order
Mot. Consolidate Cases, ECF No. 46.

Since four of Bloggs’ five claims survive the motion to
dismiss, the cases will be consolidated. Fed. R. Civ. Proc.
42(a) (2).

In considering a motion to dismiss, the court accepts all

factual allegations in the complaint as true and draws all

[5]
reasonable inferences in plaintiff's favor. See Langadinos v.
American Airlines, Inc., 199 F.3d 68, 69 (lst Cir. 2000). Under
Federal Rule of Civil Procedure 12(b) (6), a claim that does not
plead “enough facts to state a claim to relief that is plausible

on its face” will be dismissed. Bell Atlantic Corp. v. Twombly,

 

550 U.S. 544, 570 (2007). A court does not have to accept
plaintiff’s assertions as true if the allegations are conclusory
but “couched as a factual allegation.” Id. at 555 (citing
Papasan v. Allain, 478 U.S. 265, 286 (1986)).

The Supreme Court defined the standard for when schools can
constrict student speech in Tinker v. Des Moines Indep. Cmty
Sch. Dist., 393 U.S. 503 (1969). Under the Tinker standard,
student speech “may be regulated only if it would substantially
disrupt school operations or interfere with the right of
others.” Saxe v. State Coll. Area Sch. Dist., 240 F.3d 200, 214
(3d Cir. 2001); see also Tinker, 393 U.S. at 513; Pyle v. South

Hadley Sch. Comm., 861 F. Supp. 157, 166 (D. Mass. 1994)

 

(Ponsor, J.)).

Bloggs pleads sufficient facts with respect to Count I to
allow an inference that school administrators could not
reasonably forecast his private comments would cause substantial
material disruption or infringe on the rights of others. Compl.
¢ 49. The evidence on the record establishes that Bloggs made

several comments in a private group chat, and may have engaged

[6]
in other exclusionary behavior, but that Roe never saw them
until the investigation. Id. 7 47. Bloggs pointed to several
other cases that have found the disciplining of minor
disruptions to be a violation of students’ rights under the

Tinker standard. See Pl.’s Opp’n 10 (citing J.S. ex rel. Snyder

 

v. Blue Mountain Sch. Dist., 650 F.3d 915, 929 (3d Cir. 2011);

T.V. ex rel. B.V. v. Smith-Green Comm’ty Sch. Corp., 807 F.

 

 

Supp. 2d 767, 784 (N.D. Ind. 2011)). Hopkinton cited cases,
conversely, indicating that cyber-bullying, even outside of
school, can qualify as a substantial disruption. Defs.’ Mem 9

(citing Bell v. Itawamba County Sch. Bd. 799 F. 3d 379, 390 (Sth

 

 

Cir. 2015); Kowalski v. Berkeley County Sch. 652 F.3d 565 (4th

 

Cir. 2011); Sypniewski v. Warren Hills Regional Bd. of Educ.,
307 F.3d 243, 257 (3d Cir. 2002); Dunkley v. Board of Educ., 216
F. Supp. 3d 485 (D.N.J. 2016)). Whether Hopkinton was justified
in suspending Bloggs is a factual question, and the motion to
dismiss Count I is therefore denied.

Bloggs also pleads sufficient facts with respect to Count
II to allow an inference that School administrators punished him
for the actions of other students rather than his own, a
potential violation of his freedom of association. Bloggs’
argument is that other students were responsible for the alleged
bullying that led to the initial report, and Roe learned of his

derogatory comments only due to the School investigation.

[7]
Compl. 47 54, 69. Bishop, Hopkinton and Cavanaugh dismiss
Bloggs argument as asserting a right to “socialize through
social media.” Defs.’ Mem. 12. They point to case law
indicating there is no “generic right to mix and mingle,” URI

Student Senate v. Town of Narragansetty 631 F.3d 1, 12-13 (lst

 

 

Cir. 2011), and that “social friendships . . . are legally
insufficient to be protected by the First Amendment." Pollard
v. Georgetown School District 132F. Supp. 3d 225 (D. Mass. 2015)
(Casper, J.). Defs.’ Mem. 12. However, Bloggs is not asserting
a generic right to socialize, but rather a right to avoid
collective punishment based on his association with other
individuals. Pl.’s Opp’n 12-13. “Guilt by association alone

is an impermissible basis upon which to deny First Amendment
rights.” Healy v. James, 408 U.S. 169, 186 (1972). A court
could infer under these facts that Bloggs was punished for his
association with the other members of the “Geoff Da Man” chat,
so the motion to dismiss Count II is denied.

Bloggs pleads sufficient facts as well to indicate that
Massachusetts’ anti-bullying statute, Mass. Gen. Law ch. 71, §§
37H, 370, and Hopkinton’s Bullying Policy may be vague and
overbroad. Hopkinton’s Bullying Policy, which mirrors the

language of the statute, defines “bullying” as:

the repeated use .. . of a written, verbal or electronic
expression or a physical act or gesture or any
combination thereof, directed at a victim that: (1)

[8]
causes physical or emotional harm to the victim or damage
to the victim's property; (ii) places the victim in
reasonable fear of harm to himself or of damage to his
property; (iii) creates a hostile environment at school
for the victim; (iv) infringes on the rights of the
victim at school; or (v) materially and substantially
disrupts the education process or the orderly operation
of a school.

Compl., Ex. C, Bullying Prevention & Intervention (the
“Policy”); see also Mass. Gen. Law ch. 71, §§ 37H, 370. Bloggs
argues the Policy and the Massachusetts Statute are overbroad
because they encompass speech in a school environment that does
not meet the Tinker standard, specifically speech that “causes
emotional harm to the target” without causing substantial
disruption or depriving a student’s rights. Compl. {4 6; Pl.’s
Opp’n 14-16. Bloggs also argues the statute and Policy are
unconstitutionally vague because the term “emotional harm” is
undefined, thus inviting subjective and arbitrary enforcement.

Compl. @ 6; Pl.’s Opp’n 17-18.

The overbreadth doctrine permits litigants to challenge
statutes “not because their own rights of free expression are
violated, but because of a judicial prediction or assumption
that the statute’s very existence may cause others not before
the court to refrain from constitutionally protected speech or
expression.” Broadrick v. Oklahoma, 413 U.S. 601, 612 (1973).
Claimants bear the burden of establishing, “‘from the text of

[the law] and from actual fact,’ that substantial overbreadth

(9]
exists.” Virginia v. Hicks, 539 U.S. 113, 122 (2003) (internal

 

citations omitted). Here, Bloggs can point to multiple cases
that have found school policies governing areas such as
harassment and abuse to be overbroad. See Pl.’s Opp’n 16

(citing Saxe v. State College Area Sch. Dist., 240 F.3d 200, 217

 

 

(3rd Cir. 2001); Flaherty v. Keystone Oaks Sch. Dist., 247 F.

 

Supp. 2d 698, 703 (W.D. Penn. 2003)). It is therefore possible
that Bloggs could show at trial that the statute is overbroad as

applied to his case.

A statute can be voided for vagueness if the law lends
itself to impermissibly subjective interpretation. See Coates
v. Cincinnati, 402 U.S. 611, 612-614 (finding ordinance
prohibiting “conduct . . . annoying to persons passing by”
impermissibly vague). A law is void for vagueness only if a
person “of common intelligence must necessarily guess at its

meaning and differ as to its application." Caswell v. Licensing

 

Comm'n for Brockton, 387 Mass. 864, 873 (1983) (internal

 

citation omitted). Bishop, Hopkinton and Cavanaugh argue that
the statute and Policy are not vague because they ban only
speech that is combined with conduct, that is, speech that is
“repeated” and “targeted” at an individual. Defs.’ Mem. 14-15.
Bloggs contends that because the phrase “emotional harm” is not
defined, it allows for impermissibly arbitrary enforcement by

administrators. Pl.’s Mem. 18; cf. Flaherty v. Keystone Oaks

 

[10]
Sch. Dist., 247 F. Supp. 2d 698, 704 (W.D. Pa, 2003) (striking
down as overly vague school policy that used the undefined terms
"abuse," "harassment," "inappropriate," and "offend" because
“they are not linked within the text to speech that
substantially disrupts school operations.”). As with the
overbreadth challenge, Bloggs has pled enough facts to show that
the policy may be vague and should have the opportunity to
develop the application of these facts at trial. The motion to

dismiss Count III is therefore denied.

In Count IV Bloggs alleges that Hopkinton violated Article
16 of the Massachusetts Declaration of Rights, granting cause of

action under the Massachusetts Civil Rights Act. Mass. Gen.

Laws, ch. 71, $$ 111, 11H. Bloggs argues that Hopkinton

interfered with his rights through intimidation, threats, or
coercion because “defendants used the pretext of a violation of
the Bullying Policy to suspend him... .” Pl.’‘s Opp’n 19, and
because Bloggs now avoids joining chat groups out of fear of
being implicated in another disciplinary matter. Compl. @ 58.
The Massachusetts Civil Rights Act provides a remedy for an
individual whose rights have been infringed by “threats,
intimidation or coercion.” Mass. Gen. Law, ch. 12, §§ 111, 11H.
“On its face, section 11I contemplates a two-part sequence: (1)

the defendant threatens, intimidates, or coerces the plaintiff,

[11]
in order to (2) cause the plaintiff to give up something that
the plaintiff has the constitutional right to do.” Goddard v.
Kelley, 629 F. Supp. 2d 115, 128-29 (D. Mass. 2009) (Saylor, d.)
(finding that police use of excessive force in making an arrest
(the alleged act of coercion) was not a violation of section
11I, because not aimed at depriving a constitutional right); see

also Longval v. Commissioner of Correction, 404 Mass. 325, 333

 

 

(1989). Here, Bloggs alleges an act of discipline by Hopkinton
that may have violated his constitutional rights, but the idea
that the school disciplined him as a pretext for preventing
future speech, instead of as punishment for his past conduct, is
implausible and he has not pled any facts supporting it. See

Columbus v. Biggio, 76 F. Supp. 2d 43, 54 (D. Mass) (Tauro, Jd.)

 

(“A direct deprivation of rights, even if unlawful, is not
coercive because it is not an attempt to force someone to do
something the person is not lawfully required to do.") The
question of whether coercion, threats, or intimidation has
occurred is based on an objective “reasonable person” standard,
rather than on whether the plaintiff themselves felt coerced,
threatened, or intimidated. Meuser v. Federal Express Corp.,
564 F.3d 507, 521 (lst Cir. 2009). Bloggs’ experience of
subjective fear therefore does not indicate that the school
attempted to coerce, threaten, or intimidate him. The motion to

dismiss for Count IV is therefore granted.

[12]
Finally, in Count V Bloggs alleges violations of
Massachusetts General Laws, chapter 71, section 82, which
protects students’ right of freedom of expression. Hopkinton
argues there has been no violation because the statute grants
school officials the right to discipline students in response to
“prospective” disruption or disorder. Defs.’ Mem. 16-17. In

Westfield High Sch. L.LF.E. Club v. City of Westfield, the court

 

read section 82 to include such “prospective” disruption or
disorder. 249 F. Supp. 2d 98, 111 (D. Mass. 2003) (Freedman,
J.). However, the Supreme Judicial Court has also found that
the statute was written to codify the First Amendment
protections established by Tinker. Pyle v. School Comm., 423
Mass. 283, 286 (1996). The two parties therefore contest
whether an official can discipline a student for any
“prospective” disruption, or only for disruption they forecast
to be “material” or “substantial.” See Defs.’ Mem. 17; Pl.’s
Opp’n 20 n4. Either way, Bloggs has pled sufficient facts to
indicate that the School may have violated his rights for the
same reasons in Counts I and II. The motion to dismiss is
therefore denied as to Count V.

In summary, Hopkinton’s motion to dismiss is DENIED for
counts I, II, III, and V, and GRANTED for count IV. The case of

Bloggs v. Cavanaugh, 19-cv-11987-WGY is hereby officially

[13]
consolidated with Doe v. Cavanaugh, 19-cv-1138-WGY pursuant to

Federal Rules of Civil Procedure 42(a) (2).

SO ORDERED.

 
    
  

WILLIAM G.
DISTRICT JUPGE

[14]
